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                   EXHIBIT 11
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                                                                                                                  Randall W. Edwards
September 26, 2022                                                                                                D: +1 415 984 8716
                                                                                                                  redwards@omm.com
VIA ELECTRONIC MAIL

Jonathan Gardner
Melissa Nafash
Shannon Tully
Labaton Sucharow
140 Broadway
New York, NY 10005

Re:        Samsung – Mass Arbitration Claims Filed September 7, 2022

Counsel:

Samsung is investigating potential counterclaims (“Counterclaims”) against each claimant
(“Claimant”) that Labaton Sucharow purports to represent in mass arbitrations/multiple
consumer case filings against Samsung. Those filings assert claims (“Claims”) under the Illinois
Biometric Information Privacy Act (“BIPA”) related to the Gallery App on Galaxy devices,
including smartphones and tablets (“Samsung Device(s)”).

As Samsung has repeatedly informed Labaton Sucharow, the Claims are frivolous and have been
threatened and brought for the improper purpose of attempting to coerce Samsung to make a
payment to Labaton Sucharow to avoid potential American Arbitration Association
administrative fees totaling hundreds of millions of dollars. To that end, Labaton Sucharow has
indicated that the facts of Samsung’s actual conduct are irrelevant. Indeed, when Samsung asked
what further information it could provide to satisfy Labaton Sucharow that it does not possess or
have access to the alleged biometric information, Labaton Sucharow indicated there is nothing
Samsung could provide that would change its mind.

Following a mediation, Labaton Sucharow immediately threatened, including by telephone, to
file 50,000 demands for arbitration with the AAA absent an offer from Samsung to pay Labaton
Sucharow at least $50 million. Samsung refused to acquiesce. Notwithstanding the prior
indication that there is no evidence Samsung could provide that would change your
predetermined course of action, Samsung provided Labaton Sucharow with a signed declaration
that further confirms the Claims are baseless. Further, Samsung put you on notice that it would
pursue claims and counterclaims against appropriate parties if you proceeded with filing these
baseless Claims in arbitration. The potential Counterclaims relate both to the substance of the
Claims and their pursuit in arbitration. With full knowledge and information, and purportedly
acting on behalf of each Claimant, Labaton Sucharow chose to proceed with the filing of 50,000
demands for arbitration on September 7, 2022. Please confirm that you have previously



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informed and have reminded each Claimant of their continuing obligation to preserve and retain
all Samsung Device(s), documents, communications (including, without limitation, e-mails, text
messages, web or app-based forms, chats, posts, blogs, social media posts and messages),
records, and other information that might be relevant to the Claims and potential Counterclaims.
Samsung retains the right to inspect all Samsung Devices.

Samsung reserves its rights against all appropriate parties.

Sincerely,



Randall W. Edwards
Partner
of O’MELVENY & MYERS LLP

cc: Michael McTigue & Meredith Slawe, Skadden, Arps, Slate, Meagher & Flom LLP
    Matthew Powers, O’Melveny & Myers LLP




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